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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Northern District District of Texas

Case Number: 4:21-CV-00492-0

Plaintiff:
The Naughtys, LLC

vs. ,

Defendant:
Does 1-580

For:

Charles A. Wallace
5 Cowboys Way
Suite 300

Frisco, TX 75034

Received by On Time Process Service on the 1st day of December, 2021 at 11:42 am to be served on AliPay US,
Inc c/o registered agent CT Corporation System Inc., 330 N Brand, Glendale, CA 91203.

|, Sarah Thompson, do hereby affirm that on the 6th day of December, 2021 at 9:26 am, I:

Executed service by hand delivering a true copy of the Subpoena to Produce Documents, Information, or
Objects or to Permit Inspection of Premises in a Civil Action with Exhibits to: John Montijo , an authorized
acceptance agent employed by Registered Agent CT Corporation System, Inc., who is authorized to accept
service of process for AliPay US, Inc, at the address of: 330 N Brand, Glendale, CA 91203, and informed said
person of the contents therein, in compliance with state statutes. : *

Executed in Los Angeles County, CA, on 12/ 8 /2021. "| certify that | am over the age of 18, have no interest in the
above action, and am a Certified Process Server in good standing in the judicial circuit in which the process was
served. | have personal knowledge of the facts set forth in this affidavit. | declare under the penalty of perjury that the
foregoing is true and correct."

My name is Sarah Thompson. My date of Birth is 12/30/1958

My address is 1439 N Highland Ave, # 274, Los Angeles, CA 90028

Sarah Thompson
#6679

On Time Process Service
1700 Pacific Ave
Suite 1040

- Dallas, TX 75201.

. (214) 740-9999

Our Job Serial Number: ONT-2021006645
Ref: The Naughtys, LLC

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